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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division

UNITED STATES OF AMERICA,                   )
                                            )      No. 1:19-cr-59
      v.                                    )
                                            )      Hon. Liam O’Grady
DANIEL EVERETTE HALE,                       )
                                            )
                    Defendant.              )


            NOTICE OF WITHDRAWAL OF PRO BONO COUNSEL

      PLEASE TAKE NOTICE that Ruth Vinson, who previously noticed her

appearance in this matter as pro bono counsel under the auspices of the Federal

Public Defender’s Pro Bono Counsel Program, hereby is withdrawn from this matter.

The Office of the Federal Public Defender for the Eastern District of Virginia will

continue in its role as lead counsel.

                                            Respectfully submitted,

                                            DANIEL EVERETTE HALE

                                            By Counsel,
                                            Geremy C. Kamens
                                            Federal Public Defender

                                            /s/ Cadence Mertz
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                         CERTIFICATE OF SERVICE

    I hereby certify that on February 21, 2020, I filed the foregoing via the
CM/ECF system, which will electronically serve a copy upon counsel of record.



                                            /s/ Cadence Mertz
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